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10    Class Counsel
11                                UNITED STATES DISTRICT COURT
12
                                 NORTHERN DISTRICT OF CALIFORNIA
13
                                          SAN JOSE DIVISION
14

15                                                Case No. 5:12-MD-2314-EJD
16                                               SUPPLEMENTAL JOINT DECLARATION
                                                 OF STEPHEN G. GRYGIEL AND DAVID A.
17   IN RE FACEBOOK INTERNET                     STRAITE IN SUPPORT OF PLAINTIFFS’
     TRACKING LITIGATION                         MOTION FOR FINAL APPROVAL OF
18                                               CLASS ACTION SETTLEMENT AND
                                                 MOTION FOR ATTORNEYS’ FEES,
19                                               EXPENSES, AND SERVICE AWARDS
20
                                                 Judge: Hon. Edward J. Davila
21                                               Courtroom: 4—5th Floor
                                                 Date: October 27, 2022
22                                               Time: 9:00 a.m.
23   THIS DOCUMENT RELATES TO
     ALL ACTIONS
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     JOINT DECLARATION
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 1          We, David A. Straite and Stephen G. Grygiel, jointly declare and state as follows:
 2          1.      I, David A. Straite, am a member of the bars of the States of New York, Delaware,
 3   Pennsylvania, New Jersey and District of Columbia and admitted to practice before this Court pro
 4   hac vice. I am a partner with the firm of DiCello Levitt LLC.
 5          2.      I, Stephen G. Grygiel, am a member of the bars of the States of Maine,
 6   Massachusetts, Delaware, Maryland and New York, and admitted to practice before this Court pro
 7   hac vice. I am the founder of Grygiel Law LLC and, relevantly for this case, was formerly a partner
 8   in and then of counsel to Silverman Thompson Slutkin White and before that a partner in the law
 9   firm of Keefe Bartels.
10          3.      We are co-lead counsel for the Settlement Class Representatives and the Settlement
11   Class. We have personal knowledge of the facts stated herein and of the claims, defenses, and
12   proceedings in this case. If called as witnesses, we would and could competently testify thereto.
13          4.      We respectfully submit this supplemental joint declaration in support of Plaintiffs’
14   Motion for Final Approval of Class Action Settlement (ECF 254) and Plaintiffs’ Motion for Fees,
15   Expenses and Service Awards (ECF 256), both filed August 23, 2022, and in support of Plaintiffs’
16   reply memoranda and omnibus response to objectors, all filed concurrently herewith.
17                                              EXHIBITS
18          5.      Attached hereto as Exhibit 1 is a true and correct copy of the Supplemental
19   Declaration of Steven Weisbrot of Angeion Group, the Court-approved Claims Administrator,
20   regarding final status of implementation of the Notice Plan, including an Exhibit A thereto
21   comprised of the list of people requesting exclusions.
22          6.      Attached hereto as Exhibit 2 is a true and correct copy of a summary of report of
23   lodestar across the case (including hours and hourly rate) reported by Settlement Class Counsel and
24   Supreme Court Counsel, organized by firm and timekeeper.
25          7.      While proofing the chart in Exhibit 2, Class Counsel discovered a couple inadvertent
26   transcription errors, which slightly and immaterially change the collective hours spent on this
27   matter to 11,513.70 and the total lodestar to $9,631,426.83. The difference of 100.20 hours resulted
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 1   from (1) inadvertent underreporting of DiCello Levitt LLC’s hours by 0.2; and (2) an inadvertent
 2   transcription error of 100.0 hours for Murphy Falcon & Murphy’s time; however, those errors are
 3   immaterial, because Murphy Falcon & Murphy’s total lodestar was originally reported correctly in
 4   Plaintiff’s Motion (ECF 256) and supporting exhibits. Also, the updated collective total lodestar of
 5   $9,631,426.83 represents a change of only $550.50 from the total reported in Plaintiff’s Motion
 6   (ECF 256) and supporting exhibits. That small change resulted from a transcription error in Grygiel
 7   LLC’s lodestar and a couple transcription errors in the hourly rates for two DiCello Levitt LLC
 8   attorneys.
 9          8.      Attached hereto as Exhibit 3 is a true and correct copy of a spreadsheet of
10   communications with purported class members regarding the Settlement Claims Period.
11          9.      Attached hereto as Exhibit 4 is a true and correct copy of a spreadsheet of additional
12   media outreach regarding the Settlement.
13          10.     Attached hereto as Exhibit 5 is a true and correct copy of the Supplemental
14   Declaration of State Court Plaintiff Ryan Ung that was provided to co-lead counsel by Renée
15   Wicklund at Richman Law & Policy.
16          11.     Attached hereto as Exhibit 6 is a true and correct copy of the Supplemental
17   Declaration of State Court Plaintiff Chi Cheng that was provided to co-lead counsel by Renée
18   Wicklund at Richman Law & Policy.
19          12.     Attached hereto as Exhibit 7 is a true and correct copy of the Supplemental
20   Declaration of State Court Plaintiff Alice Rosen that was provided to co-lead counsel by Renée
21   Wicklund at Richman Law & Policy.
22          13.     Attached hereto as Exhibit 8 is a true and correct copy of a July 1, 2020 “Article:
23   June 2020: Facebook, Cookies and Data Privacy: A Watershed Moment?” Business Litigation
24   Reports, Quinn Emanuel Urquhart & Sullivan, LLP, downloaded today personally by David Straite
25   from the Quinn Emanuel website.
26          14.     Yesterday and today, October 12 and 13, 2022, David Straite contacted Jenny
27   Shawver at Angeion Group to investigate whether four pro se objectors had filed claims or
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 1   otherwise provided evidence to Angeion of their class membership. Ms. Shawver confirmed the
 2   following facts to Mr. Straite via email:
 3                  a.      Angeion has no record of Objector Martin Suroor Corrado filing a claim or
 4                          otherwise attempting to establish class membership.
 5                  b.      Angeion has no record of Objector Michael Colley filing a claim or
 6                          otherwise attempting to establish class membership.
 7                  c.      Angeion has no record of Objector Edward W. Orr filing a claim or
 8                          otherwise attempting to establish class membership.
 9                  d.      Angeion was able, on the other hand, to find a record of Objector Austin
10                          Williams filing a claim; Ms. Shawver also confirmed that he had been sent
11                          a notice which further suggests class membership based on our
12                          understanding of how the data were populated.
13          15.     On August 29, 2022, the Court docketed a letter from Class Member Anne Barschall
14   objecting to the online claims process. Steve Grygiel contacted Ms. Barschall via email and phone
15   and arranged with Angeion for her to file a handwritten claim that addressed her concerns. Ms.
16   Barschall identified herself as a Quaker and said she is unable to swear under oath but Mr. Grygiel
17   and Steve Weisbrot at Angeion authorized an affirmation in its place. We understand her claim
18   was processed and the “objection” is resolved.
19   We declare under penalty of perjury that the foregoing is true and correct.
20

21   Dated: October 13, 2022

22
            /s/ David Straite                                    /s/ Stephen Grygiel
23    David A. Straite (admitted pro hac vice)            Stephen G. Grygiel (admitted pro hac vice)
24    At Marbletown, New York                             At Clinton, New York

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                      ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 1
            I, David A. Straite, attest that concurrence in the filing of this document has been obtained
 2
     from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.
 3
            Executed this 13th day of October, 2022, at Marbletown, New York
 4

 5
                                                           /s/ David Straite
 6
                                                            David A. Straite
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     JOINT DECLARATION                                 5
